           Case 3:08-cr-00045-LRH-VPC                     Document 107        Filed 10/20/09        Page 1 of 5
AO 245C ('
         Rev 06/05)AmendedJudgmentinaCriminalCase
        Sheet1                                                                                 (NOTE:EdentifvChangeswlthAsterisks(*))
                                         UNITED STATES DISTRICT CO URT
                                              DISTRIC T O F NEV A DA

UNITED STATES OF AM ERICA                                    AM E ND ED JUD G M E NT IN A C RIM IN AL CA SE
            VS.
M ICHAEL STRAIN                                              CASE NUM BER:              3:08-cr-45-LRH(RAM )
                                                             U SM NUM BER:              43l13-048

DATE O F O RIG INAL JUD GM ENT:Septem ber21.2009                              Steve Sexton
(orDateofLastAmended Judgment)                                                D efendant'sAttorney

REA SO N FOR AM END M ENT:
()CorrectionofSentenceonRemand                                ()ModiticationofSupel  wisionConditions(18U.S.C.j3563(c)
          (18:3742(9(1)& (2))                                           OR 3583(e)).
()RcductionofSentenceofChangedCircumstanccs                     )ModiticatienofImposedTerm oflmprisonmentforExtraordinary
         I-
          'eJ.R.Crim.P.J5(b))                                           andCompellingIteasons(18U.S.C.j3582(c)(lj)
()CorrectionofSentenccbySentencingCourt                         )Medificdtionot-lrnposedTerm f)flmprisonmentftlr
         (Fed.R.Crim.P.35(a))                                          RetroactivctotheSentencingGuidelines18U.S.C.j3582(c)(2))
lZjCorwctionofSentenceforClericalMistake                      ( )DirectMotiontoDistrictCourtPursuantto()28U.S.C.j2255,
         (Fed.R.Crim.P.36)                                             ()18U.S.C.j35594c)(7)
                                                              ( )M oditicationofRestitutionOrder(18U.S. C.j3664)
TH E DEFENDANT:
(2') pledguiltytotheM isdemeanorInfonnation
( ) plednolocontendereto countts)                                                 whichwasacceptedbythecourt.
( ) wasfoundguilty oncountts)                                                 afterapleaofnotguilty,.

Thedefendantisadjudicatedguilty oftheseoffenses:
Title & Section                     Nature ofOffense                           O ffense Ended                          Count

I8 U.S.C.I701                       Obstructîon ofM ailsGenerally              5/6/08

         Thedefendantissentencedasprovidedinpages2through 5 ofthisjudgment.Thesentenceisimposed
pursuantto the Sentencing Reform Actof1984.

( ) Thedefendanthasbeenfound notguilty on countts)
(Z) AllremaininzcountsaredismissedonthemotionoftheUnitedStates.
       IT IS ORDERED thatthedefendantshallnotify the United StatesAttorney forthisdistrictwithin 30 daysofany
change ofname,residence,orm ailingaddressuntila1ltines,restitution,costs,and specialassessm entsim posed by this
 judgmentarefullypaid.Iforderedto payrestitution,thedefendantshallnotify thecoul'
                                                                                tandUnited Statesattorneyof
any materialchangesin econom iccircum stances.

                                                                      OCTOBER 19-2009
                                                                       Dateof positionofJudgment
              x,
               .
               'e(
                 JILj'
                     .
                     i
                     p
                     .                    RE6EII/E:
                  iTi
                    c
                    kii:RED                SERVED ON
                              COPNSEL/NEITIESOFFIECQ II
                                                                       Signature ofJudge

                         CS1' 2 t) 2009                                LARRY R.HICK S
                                                                       U.S.DISTRICT JUDGE
                                                                       Nam e and Title ofJudge
                    CLFRK U!DISIRIC'LOOURT
                       Dl3'k
                           'R(GTOFNEVJïDA
            BY:               -- - -       DCPUTY                         to        4 /5
                                                                       Date
           Case 3:08-cr-00045-LRH-VPC               Document 107       Filed 10/20/09     Page 2 of 5
AO 245C (Rev.06/05)AmendedJudgmentinaCriminalCase
        Sheet1
DEFENDANT:               M ICHAEL STRA IN                                                       Judgm ent-Page 2
CASE NUMBER:             3:08-cr-45-LRH(RAM )
                                                    IM PR ISO NM ENT

         The defendantishereby com mitled to the custody oftheUnited StatesBureau ofPrisonsto beim prisoned fora
total term of:TIM E SERVED




        Tlze ccul-tm akesthefollew ing recommendationsto the Bureau ofPristms;




        The defendantisrem anded to the eustody ofthe United States M arshal.

        The defendantshallsurrenderto the United StatesM arshalforthisdistrict:
        ()       at             a.m./p.m.on
        ()       asnotifiedbytheUnited StatesM arshal.
        Thedefendantshallsurrenderforservice ofsentenceatthe institution designated by the Bureau ofPrisons:
        ()       before2p.m.on
        ()       asnotifiedbytheUnitedStatesM arshal.
        ()       asnotifiedbytheProbationofPretrialServicesOftice.
                                                        RETU R N

lhaveexecutedthisjudgmentasfollows:




         Defendantdelivered on                                to
at                                                                          ,withacertified copyofthisjudgment.

                                                               UN ITED STATES M ARSHA L

                                                               BY :
                                                                       D epu'
                                                                            ty United States M arshal
          Case 3:08-cr-00045-LRH-VPC                Document 107         Filed 10/20/09        Page 3 of 5
        (Rev.06/05)AmendedJudgmentInaCriminalCase
        Sbeet3 -SupervisedRelease
DEFENDAN T:              M ICHAEL STRAIN                                                             Judgm ent-Page 3
CASE NUMBER:             3:08-cr-45-LRH(RAM )
                                              **SU PE RV ISE D RE LEA SE

       Upon release from imprisonm ent,the defendantshallbe on supervised release fora tenu ofTW O (2)YEARS

        The defendantm ustreportto theprobation office in the districtto w hich the defendantisreleased w ithin 72 hours
ofreleasefrom the custody oftheBureau ofPrisons.

Thedefendantshallnotcom mitanotherfederal,state,orIocalcrime.

Thedefendantshallnotunlaw fully possessa oontrolled substance.Thedefendantshallrefrain from any unlawfuluse ofa
ccmtrolled substance. The defendantshallsubm ittoonedrug testwithin 15 days ofrelease from im prisonznentand atleasl
two periodic drug teststhereafter,asdetermined by thecourt.

       Theabovedrugtestingcondition issuspended,basedon thecourt'sdeterminationthatthedefendantposesa Iow risk
       offuturesubstanceabuse.(Check,ifapplicable.)
       ThedefendantshallnotpossessaGrearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,
        ifapplicable.)
()      ThedefendantshallcooperateinthecollectionofDNA asdirected bytheprobationoftice.(Check,ifapplicable.)
()      Thedefendantshallregisterwiththestatesexoffenderregistration agencyinthestatewherethedefendantresides,
        works,orisastudent,asdirected bytheprobationoffice.(Check ifapplicable.)
        Thedefendantshallparticipate in anapprovedprogram fordomesticviolence.(Check,ifapplicable.)
       Ifthisjudgmentimposesa fineora restitution,itisa condition ofsupervised releasethatthedefendantpay in
accordancewiththeScheduleofPaymentssheetofthisjudgment.
        The defendantmustcom ply with the standard conditionsthathave been adopted by thiseourtasw ellaswith any
additionalconditionson the attached page.

                                    STANDARD CONDITIO NS OF SIJPERV ISIO N

        thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationoftice'
        thedefendantshallreporttotheprobationofficeandshallsubmitatruthfuland completewrittenreportwithintheflrstfivedays
        ofeachmonth'
3)      thedefendantshallanswertruthfullyaIlinquiriesby theprobationofficeand follow theinstructionsoftheprobation oftice'
                                                                                                                         ,
4)      thedefendantshallsupporthisorherdependantsand meetotherfamilyresponsibilities'
5)      thedefendantshallworkregularlyatalawfuloccupationunlessexcusedbytheprobationofticeforschooling,training,orother
        acceptablereasons'
6)      thedefendantshallnotifytheprobatfon ofticeatIeasttendayspriortoany change inresidenceoremployment'
7)      the defendantshallrefrain from excessive use ofalcoholand shallnotpurchase possess,use,distribute oradministerany
        controlled substanceoranyparaphernaliarelatedto any controlled substances exceptasprescribed by aphysician'
8)      thedefendantshallnotfrequentplaceswherecontrolled substancesareillegally sold used distributed oradministered'
9)      thedefendantshallnotassociatewithanypersonsengagedincriminalactivity andshallnotassociatewithanypersonconvicted
        ofafelonyunlessgrantedpennissionto do so bytheprobation oft
                                                                  ice'
                                                                     ,
l0)     thedefendantshallpermitaprobationofticetovisithim orheratanytimeathomeorelsewhereandshallpermitcontiscation
        ofanycontraband observedinplain view oftheprobationoffice'
        thedefendantshallnotifytheprobation officewithin seventy-two hoursofbeing arrested orquestionedby a 1aw enforcem ent
        oflice'
        thedefendantshallnotenterintoany agreem enttoactasan informeroraspecialagentofalaw enforcem entagency withoutthe
        pennission ofthecourt;and
        asdirected by the probationoflice,the defendantshallnotify third partiesofrisksthatm ay beoccasionedby the defendant's
        criminalrecord orpersonalhistory orcharacteristics and shallperm ittheprobation office to m akesuchnotiticationsand to
        confirm thedefendant'scom pliancewithsuch notiscation requirem ent.
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     (Rev.06/05)AmendedJudgmentInaCrimlnalCase
     Sheet3-SupervisedRelease
DEFENDANT:            M ICHAEL STRA IN                                                    Judgment-Page 4
CASE NUM BER:         3:08-cr-45-LRH(RAM )
                                  SPECIAL CO NDITIONS O F SUPERVISIO N

     W arrantlessSearch -Thedefendantshallsubm ithisperson,property,residenceorautomobileunderhiscontrolby
           .. -

     theprobation ofticerorany otherauthorized person underthe im mediateandpersonalsupervision ofthe probation
     officer,withouta search warrantto ensure compliancew ith aI1conditionsofrelease.

     Substance Abuse Treatm ent- The defendantshallparticipate in,and successfully com plete,a substance abuse
     treatmentand/orcognitivebased lifeskillsprogram ,whichwillincludedrugr/alcoholtestingoroutpatientcounseling,
     asapproved and directed by the probation officer.Further,thedefendantshallberequiredto contributeto thecosts
     ofservicesforsuch treatm ent,asapproved and directed by theprobation ofticer,based upon hisabili'
                                                                                                     tyto pay.As
     partofthistreatment,thedefendantshallenterand completea 28 day residentialinpatienttreatmentprogram .

     AlcoholA bstinence -Defendantshallrefrain from the useand possession ofbeer,wine,liquorand otherform sof
     intoxicants.

     Gam blina Prohibition -The defendantshallnotenter,frequent,orbe involved w ith any Iegalorillegalgam bling
     establishmentoractivity',exceptforthepurposeofemployment,asapproved and directed by the probation officer.

     Gam blinu Addiction Treatm ent-Thedefendantshallrefrain from any form ofgam bling and shallparticipate in a
     program forthe treatm entofgam bling addiction,athis own expense,asapproved and directed by the probation
     officer,based upon his ability to pay.

     Reoortto Probation OfticerAfterRelease from Custodv -Defendantshallreporq inperson,totheprobation office
     inthe districtto which he isreleased within 72 hoursofdischargefrom custody.
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         Sheet3-Supcrvlsed Release
DEFENDANT:                M ICHAEL STRAIN                                                           Judgm ent-Page 5
CASE NUM BER:             3:08-cr-45-LR11(RAM )
                                         CRIM IN AL M O N ETA RY PEN AL TIES
        The defendantm ustpay thetotalcrim inalmonetary penaltiesundertheschedule ofpaymentson Sheet6.

                                     Assessm ent                    Fine                          Restitution

        Totals:                      $10.00                         SW AIVED                      $N/A
                                     Dueand payable imm ediately.

        On m otion by theGovenzment,IT IS ORDERED thatthe specialassessmentim posed by the Courtisrem itled.

        The determ ination ofrestitution isdeferred until                      .   An Amended Judgmentin aCriminalCase
        (AO 245C)willbeentered aflersuchdetermination.
()      Thedefendantshallmakerestitution(includingcommunityrestitution)totbefollowingpayeesin theamountlisted
        below.

        lfthe defendantmakesapartialpaym ent,each payee shallreceive an approximately proportioned paym ent, unless
        specitied otherwise in thepriority orderorpercentage paymentcolumn below . However,pursuantto l8U.S.   C.j
        3664(1),allnonfederalvictimsmustbepaidbeforetheUnitedStatesispaid.
N am e ofPavee                                TotalLoss             Restitution Ordered           Priori'
                                                                                                        tv ofPercentaqe

Clerk,U .S.D istrictCourt
Attn:FinancialOffice
Case No.
333 LasVegasBoulevard,South
LasV egas,NV 89l01

TOTA LS                                       $                     $


Restitution am ountordered pursuantto pleaagreement: $

The defendantm ustpay intereston restitution and a t'ine ofm ore than $2,500,unlessthe restitution orGne ispaid in f'
                                                                                                                    tlll
beforethefifteenthday afterthedateofjudgment,pursuantto 18U.S.C.j3612(9.AIIofthepaymentoptionson Sheet6
may besubjectto penaltiesfordelinquency anddefault,pursuantto 18U.S.C.j36l2(g).
The courtdetermined thatthe defendantdoesnothavethe abili'
                                                         ty to pay interestand itisordered that:

       the interestrequirementiswaived forthe! ( )fine ( )restitution.
       theinterestrequirementforthe: ( )fine ( )restitution ismodified asfollows:




#Findingsforthe totalamountof Iossesarerequired underChapters 109A,110,110A , and 1l3A ofTitle 18 foroffenses
comm itted on orafterSeptember13,1994 butbefore April23, 1996.
